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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

Hiran Rodriguez,
            Plaintiff,                  Civil Action No. 2:25-cv-00197
                   v.
                                        Section A(2)
Meta Platforms, Inc., Apple Inc., T-
                                        Judge Jay C. Zainey
Mobile USA, Inc., AT&T Enterprises,
LLC, X Corp., a Nevada Corporation, Magistrate Judge Donna Phillips Currault
Kansas City Southern Railroad Co.,
LCMC Healthcare Partners, LLC,
Third District Volunteer Fire
Department, Gray Television, Inc.,
The Associated Press, Jefferson Parish,
Jefferson Parish Sheriff’s Office,
Joseph P. Lopinto, III, Andres Fuentes,
Gloria Pazmino, Haleluya Hadero,
Susanne Rust, Ryan McCafferty, Paul
MacInnes, Jonathan Liew, James
Ochoa, Demicia Inman, Jamie
Spangher, Maya Gebeily, Versha
Sharma, Elon Musk, Mark Elliott
Zuckerberg, and Does 1-10,
            Defendants.

       DEFENDANT KANSAS CITY SOUTHERN RAILWAY CO.’S
                    MOTION TO DISMISS

      NOW COMES Defendant, the Kansas City Southern Railway Company

(“KCSR”) through undersigned counsel, and respectfully moves this Court, pursuant

to Fed. R. Civ. P. 12(b)(6) and 28 U.S.C. § 1915(e), to dismiss Plaintiff Hiran

Rodriguez’s Complaint in its entirety. His Complaint lacks a single fact to support

any claims against KCSR; multiple claims fail as a matter of law; and his Complaint



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should be dismissed with prejudice because his claims are patently frivolous and

irrational.

       WHEREFORE, for the foregoing reasons as discussed more fully in the

accompanying Memorandum in Support, KCSR respectfully prays that this Court

grant its Motion to Dismiss and dismiss Plaintiff Hiran Rodriguez’s claims against

it with prejudice.

      March 11, 2025              Respectfully submitted,

                                  BREAZEALE, SACHSE & WILSON, L.L.P.,

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                                     Attorneys for the
                                     Kansas City Southern Railway Company


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                         CERTIFICATE OF SERVICE


      I hereby certify that on this 11th day of March, 2025, the foregoing pleading

was electronically filed with the Clerk of Court using the CM/ECF system and

served on the Plaintiff by U.S. Mail.




                                                _/s/ Philip J. Giorlando_________
                                                   Philip J. Giorlando




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